Case 3:24-cv-01077-RSH-MMP     Document 110-1       Filed 12/11/24     PageID.1736   Page
                                      1 of 6


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      Corporation
  8                        UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10
      AYNUR BAGHIRZADE, an individual,                  Case No. 24CV1077-RSH-MMP
 11
                              Plaintiff,
 12                                                     MEMORANDUM OF POINTS
              vs.                                       AND AUTHORITIES IN
 13
      ARMENIAN NAITONAL COMMITTEE                       SUPPORT OF DEFENDANT
 14   OF AMERICA, a Non-Profit Corporation;             GREYSTAR CALIFORNIA
      ARAM HAMPARIAN, an individual;                    INC.’S EX PARTE
 15   ARMENIAN NATIONAL COMMITTEE
      OF AMERICA WESTERN REGIONS, a                     APPLICATION FOR AN
 16   California Nonprofit Public Benefit               ORDER EXTENDING TIME TO
      Corporation; ARMEN SAKAHYAN, an                   RESPOND TO PLAINTIFF’S
 17   individual; YELP Inc., a Delaware Stock
      Corporation; JEREMY STOPPELMAN, an                SECOND AMENDED
 18   individual; GOOGLE LLC., a Delaware               COMPLAINT
      Limited Liability Company; ALPHABET
 19   Inc., a Delaware Stock Corporation; Youtube
      LLC, a Delaware Limited Liability                 Judge:       Hon. Robert S. Huie
 20   Company; SUNDAR PICHAI, an individual;            Dept.:       3B
      ORANGE COUNTY BAR ASSOCIATION,
 21   a California Nonprofit Mutual Benefit
      Corporation; TRUDY LEVINDOFSKE, an                Complaint Filed: June 21, 2024
 22   individual; TERESA VUKI, an individual;           Trial Date:      None Set
      LOS ANGELES COUNTY BAR
 23   ASSOCIATION, a California Nonprofit
      Mutual Benefit Corporation; SETH
 24   CHAVEZ, an individual; COCO SU, an
      individual; ATTONEY SEARCH
 25   NETWORK, a California Stock Corporation;
      JAKE BALOIAN, an individual; Nolo, a
 26   California Stock Corporation; MH SUB I,
      LLC, a Delaware Limited Liability
 27   Company; LEGALMATCH CALIFORNIA,
      a Nevada Domestic Corporation;
 28   ESTRELLA SANCHEZ, an individual;
      ZARTONK MEDIA LLC, a California

      305665391v.1
Case 3:24-cv-01077-RSH-MMP          Document 110-1       Filed 12/11/24   PageID.1737    Page
                                           2 of 6


      Limited Liability Company; ZAVEN
  1   KOUROGHLIAN, an individual; VAN DER
      MEGERDICHIAN, an individual;
  2   HAIRENIK ASSOCIATION, a Nonprofit
      Corporation; ANI TCHAGHLASIAN, an
  3   individual; LEGALSHIELD, Domestic For
      Profit Business Corporation; PARKER -
  4   STANBURY LLP, a California Limited
      Liability Partnership; GREYSTAR
  5   CALIFORNIA Inc., a Delaware Stock
      Corporation; KIA AMERICA Inc., a
  6   California Stock Corporation; DOES 1-289
  7                               Defendant.
  8

  9           Defendant GREYSTAR CALIFORNIA, INC. (“Greystar”) requests that this
 10    Court permit an additional thirty (30) days to respond to Plaintiff’s Second Amended
 11    Complaint.
 12     I.    PROCEDURAL BACKGROUND
 13            Plaintiff initially filed her suit on June 21, 2024. [ECF 1]. Thereafter, Plaintiff
 14    filed an Amended Complaint on August 15, 2024. [ECF 15]. After service on several
 15    defendants, and agreed extensions of deadlines to respond, those defendants filed
 16    various dispositive motions against Plaintiff’s Amended Complaint in September
 17    [ECF 24, 50, 51, 57]. Plaintiff then sought approval on October 10, 2024 [ECF 59]
 18    and was granted an opportunity to file a Second Amended Complaint on November
 19    15, 2024. [ECF 93], which was filed on November 16, 2024. [ECF 96]. This Second
 20    Amended Complaint (“SAC”) for the first time, included claims against Defendant
 21    Greystar California, Inc. (“Greystar”). Id.
 22            Thereafter, Plaintiff effectuated service on Greystar on November 19, 2024,
 23    making Greystar’s response due December 11, 2024. (See Declaration of Jessica R.
 24    K. Dorman ¶ 2(“Dorman Decl.”)). Though Greystar acted diligently to evaluate the
 25    claim internally, and retain appropriate counsel, they were unable to retain counsel
 26    until December 4, 2024, likely due to the Thanksgiving holiday and many people
 27    being out of office during the Thanksgiving week. (Dorman Decl. ¶3).
 28    //
                                                   -2-
                     MEMORANDUM OF POINTS AND AUTHORITIES ISO EX PARTE APPLICATION
      305665391v.1
Case 3:24-cv-01077-RSH-MMP         Document 110-1       Filed 12/11/24   PageID.1738   Page
                                          3 of 6



  1   II.     MEET AND CONFER
  2            On December 4, 2024, within hours of learning of this action, Greystar’s
  3    counsel attempted to reach out to Plaintiff at the phone number listed on the pleadings,
  4    only to discover the phone number was no longer viable, receiving the following
  5    message: “We're sorry, the number you have dialed has calling restrictions that has
  6    prevented the completion of your call, announcement 19.” . (Dorman Decl. ¶4). As
  7    Plaintiff was unreachable by telephone, Greystar’s counsel prepared and sent an email
  8    to three email addresses associated with Plaintiff (through this action, her firm
  9    website, and the California State Bar) on December 4, 2024. (Dorman Decl. ¶5). In
 10    this December 4, 2024, email Greystar’s counsel requested a thirty (30) day extension,
 11    noting the complexities of the case and year-end holidays as a reason for the extended
 12    request for time. (Dorman Decl. ¶5).
 13            Two days later, on December 6, 2024, Greystar’s counsel again attempted to
 14    reach Plaintiff by telephone and when unsuccessful, followed up by email to request
 15    the extension of time as had been permitted to the other defendants. (Dorman Decl.
 16    ¶7, Ex. A). In an effort to locate a working telephone number for Plaintiff, Greystar’s
 17    counsel reached out to counsel for several co-defendants to inquire if they had a
 18    working telephone number for Plaintiff. (Dorman Decl. ¶8). Upon obtaining a new
 19    telephone number from a co-defendant’s counsel, Greystar’s counsel was able to
 20    speak with Plaintiff about the requested extension. (Dorman Decl. ¶8).
 21            During Greystar’s counsel’s telephone call with Plaintiff, Plaintiff offered to
 22    agree to a 30-day extension of time if Greystar would drop its eviction proceeding in
 23    state court. (Dorman Decl. ¶9). As Greystar’s counsel was unaware of whether such
 24    an agreement could be reached in time, Greystar’s counsel suggested a shorter
 25    extension of 1-week to allow counsel to inquire of Plaintiff’s request to Greystar and
 26    Plaintiff agreed to the 1-week extension of time, instructing Greystar’s counsel to
 27    send over the joint motion for the extension and she would sign it. (Dorman Decl. ¶9).
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                                                  -3-
                     MEMORANDUM OF POINTS AND AUTHORITIES ISO EX PARTE APPLICATION
      305665391v.1
Case 3:24-cv-01077-RSH-MMP         Document 110-1       Filed 12/11/24   PageID.1739   Page
                                          4 of 6



  1    This agreement for a 1-week extension was memorialized by email from Greystar’s
  2    counsel to Plaintiff. (Dorman Decl. ¶9, Ex. A).
  3            The proposed Joint Motion for extension of time was sent to Plaintiff on the
  4    morning of December 10, 2024, for approval. (Dorman Decl. ¶10, Ex. A). Greystar’s
  5    counsel followed up by telephone, text, and email without any response until 3:43,
  6    when Plaintiff wrote back denying having agreed to the extension. (Dorman Decl.
  7    ¶10, Ex. A). Greystar’s counsel attempted again to seek approval for the requested
  8    extension by email, and advised that with no approval, Greystar would seek an ex
  9    parte order. (Dorman Decl. ¶10, Ex. A). There has been no response from Plaintiff as
 10    of the filing of this Application. (Dorman Decl. ¶11).
 11   III.    LEGAL STANDARD
 12            Rule 6(b) of the Federal Rules of Civil Procedure permit the Court to extend
 13    the time for a defendant to respond to a complaint upon a showing of good cause—
 14    so long as the request is made before the original time expires. See Fed. R. Civ. P.
 15    6(b)(1)(A). The Ninth Circuit has admonished that such requests for extensions of
 16    time should be granted in the absence of bad faith on the part of the party seeking
 17    relief or prejudice to the adverse party. See Ahanchian v. Xenon Pictures, Inc., 624
 18    F.3d 1253, 1259 (9th Cir. 2010). “This rule, like all the Federal Rules of Civil
 19    Procedure, ‘[is] to be liberally construed to effectuate the general purpose of seeing
 20    that cases are tried on the merits.’” Id. (quoting Rodgers v. Watt, 722 F.2d 456, 459
 21    (9th Cir. 1983)). The Local Rules add, however, that “[e]xtensions of time for answer,
 22    or moving to dismiss a complaint, will only be secured by obtaining the approval of
 23    a judicial officer, who will base the decision on a showing of good cause.” S.D. Cal.
 24    Civ. L. R. 12.1. Therefore, “in the Southern District, court approval is required for
 25    any extension of time to answer or move to dismiss the complaint.” See Oliveria v.
 26    AMN Healthcare, Inc., 2022 WL 345642, at *1 (S.D. Cal. Feb. 4, 2022) (quoting THE
 27    RUTTER GROUP, Fed. Civ. P. Before Trial § 8:913 (2020)) (granting 30-day
 28    extension of time to respond, instead of requested 15-day extension) (emphasis
                                                  -4-
                     MEMORANDUM OF POINTS AND AUTHORITIES ISO EX PARTE APPLICATION
      305665391v.1
Case 3:24-cv-01077-RSH-MMP           Document 110-1       Filed 12/11/24   PageID.1740   Page
                                            5 of 6



  1    added). “‘Good cause is a non-rigorous standard that has been construed broadly
  2    across procedural and statutory contexts.” Id. “The good cause standard focuses on
  3    the diligence of the party seeking to extend deadlines and the reasons for seeking the
  4    modification.” Id. citing Fireman's Fund Ins. Co. v. Electrolux Home Prods., Inc.,
  5    No. 3:23-CV-01847, 2024 U.S. Dist. LEXIS 44379, 2024 WL 947792, at *1 (S.D.
  6    Cal. Feb. 6, 2024) (citing Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 609
  7    (9th Cir. 1992)).
  8   IV.     ARGUMENT
  9                  a. Greystar Has Good Cause To Seek An Extension To Respond.
 10            Greystar was only able to retain counsel one week before the response to
 11    Plaintiff’s SAC was due as a result of the Thanksgiving Holiday. Moreover,
 12    Plaintiff’s SAC contains 355 paragraphs of allegations that need to be evaluated in
 13    order to appropriately and accurately respond to the SAC. Additionally, the facts as
 14    alleged in the SAC are complicated and involve 30 defendants, which are each alleged
 15    to have been involved in a grand scheme that needs to be fully understood in order to
 16    respond.
 17            As to the time requested from Greystar, it is anticipated that various persons
 18    within the Greystar company will be out of office on pre-planned vacations during
 19    the weeks of Christmas and New Years. Likewise, Greystar’s counsel has a pre-
 20    planned trip from December 23, 2024-January 3, 2025 to visit family for the holidays.
 21    (Dorman Decl. ¶_).
 22            The request from Greystar for 30 additional days to respond to the complaint
 23    would put Greystar’s response on January 10, 2025, providing for Greystar’s counsel
 24    to have approximately three weeks between the date of retention and the deadline
 25    aside from Christmas and New Year’s weeks.
 26            Though Greystar was willing to work with Plaintiff for a 1-week extension, it
 27    was going to be a difficult and challenging to gather all needed information in order
 28    to respond to the SAC within the short extension of time.
                                                    -5-
                       MEMORANDUM OF POINTS AND AUTHORITIES ISO EX PARTE APPLICATION
      305665391v.1
Case 3:24-cv-01077-RSH-MMP            Document 110-1        Filed 12/11/24   PageID.1741   Page
                                             6 of 6



  1                  b. Defendant Has Acted In Good Faith
  2            Greystar reached out to Plaintiff through counsel as soon as counsel was
  3    retained and after two days, received an agreement from Plaintiff for a one-week
  4    extension. Plaintiff then waited a weekend and two business days after receiving a
  5    confirmation email to go back on her agreement to allow the extension. Greystar acted
  6    in reliance on the agreed extension to focus efforts on preparing the joint motion to
  7    extend time to respond and to investigate the eviction issue raised by Plaintiff.
  8    Plaintiff knew of Greystar’s reliance and purposefully sought to trick Greystar.
  9                  c. The Delay Has Been Minimal And There Is No Prejudice To Plaintiff.
 10            The requested thirty (30) day extension will not prejudice Plaintiff, as there are
 11    currently several Motions to Dismiss filed by other Defendants in this action set to be
 12    heard on January 6, 2025, as well as many unserved and responded parties to this
 13    case, there will be limited, if any prejudice to Plaintiff by this requested extension.
 14    V.     CONCLUSION
 15            For the reasons detailed above, Greystar respectfully requests the Court extend
 16    Greystar’s deadline for responding to Plaintiff’s Second Amended Complaint by
 17    thirty (30) days to January 10, 2025.
 18

 19    DATED: December 11, 2024                            By:
                                                                 Attorneys for Defendant,
 20                                                              GREYSTAR CALIFORNIA, INC.
                                                                 Jessica R. K Dorman
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                                                     -6-
                        MEMORANDUM OF POINTS AND AUTHORITIES ISO EX PARTE APPLICATION
      305665391v.1
